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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  N.A.S,                                          §
                                                  §
                  Plaintiff,                      §
                                                  §
  vs.                                             §       CASE NO. 1:20-cv-24676-DPG
                                                  §
  MORADA-HAUTE FURNITURE                          §
  BOUTIQUE, LLC,                                  §
                                                  §
                  Defendant.                      §


        PLAINTIFF’S MOTION TO SEAL CERTIFICATE OF INTERESTEED PARTIES

           Pursuant to Local Rule 5.4, Plaintiff N.A.S. files Motion to Seal her Certificate of

  Interested Parties and in support respectfully show as follows:

           1.     Plaintiff filed her Original Complaint using only her initials to protect her privacy,

  given her belief that (as alleged in her Original Complaint) certain unknown parties have had

  access to her personal residence and private belongings, including, but not limited to personal

  items such as her medication. See Plaintiff’s Original Complaint, Doc. No. 1.

           2.     Pursuant to the Court’s December 15, 2020 Order, Plaintiff’s Certificate of

  Interested Parties is due on or before January 4, 2021. See Doc. No. 12.

           3.     In her Certificate of Interested Parties, Plaintiff wishes to fully identify herself and

  her husband. However, given the privacy interests discussed above, Plaintiff wishes to file the

  document under seal in order to avoid giving unknown parties and/or the public additional access

  to her identity with respect to the details of this case.

           4.     The duration of the requested seal is until the case is terminated.




  PLAINTIFF’S MOTION TO SEAL THE FILING OF
  CERTIFICATE OF INTERESTED PARTIES                                                               PAGE 1
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          5.      Plaintiff does not request that the entire case be sealed, merely her filing of the

  Certificate of Interested Parties.

          6.      Pursuant to Local Rule 5.4(b), Plaintiff is not attaching or revealing the specific

  content that would be in the Certificate of Interested Parties, and will only file it after the Court

  makes a ruling on this Motion.

          Plaintiff prays that the Court grant this Motion to Seal Certificate of Interested Parties,

  along with all such other and further relief to which Plaintiff is justly entitled.

                                                  Respectfully submitted,

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                                                  /s/ Robert L. Chaiken
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                                                  ATTORNEYS FOR PLAINTIFF




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  CERTIFICATE OF INTERESTED PARTIES                                                            PAGE 2
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been electronically served
  upon all counsel of record via the Court’s CM/ECF filing system, on the 4th day of January, 2021.


                                                /s/ Robert L. Chaiken
                                                Robert L. Chaiken




  PLAINTIFF’S MOTION TO SEAL THE FILING OF
  CERTIFICATE OF INTERESTED PARTIES                                                           PAGE 3
